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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 ROBERT FARKAS,

         Plaintiff,                                          Case No.: 1:24-cv-03486

 v.                                                          Judge Franklin U. Valderrama

 THE PARTNERSHIPS AND UNINCORPORATED                         Magistrate Judge Maria Valdez
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                    DEFENDANT
                  3                                     LOCOMO US
                  4                                  Huacan Official Store
                  8                                     YUJINGJING
                 20                                       FSS-US
                 25                                        wcmus
                 27                                      OCWZshop
                 28                                         chjzj


DATED: June 7, 2024                                   Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
                                                      Keith Vogt, Ltd.
                                                      33 W. Jackson Blvd., #2W
                                                      Chicago, Illinois 60604
                                                      Telephone:312-971-6752
                                                      E-mail: keith@vogtip.com

                                                      ATTORNEY FOR PLAINTIFF


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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on June 7, 2024 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt




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